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                         .IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE
------------------------------------------------------------- x
                                                              :
In re:                                                        :           Chapter 11
                                                              :
THE WEINSTEIN COMPANY HOLDINGS,                               :           Case No. 18-10601 (MFW)
LLC, et al.,                                                  :
                                                              :           (Jointly Administered)
                                  Debtors.1                   :
                                                              :           Re: D.I. 3182 & 3195
------------------------------------------------------------- x

                       ORDER CONFIRMING PLAN PROPONENTS’
                FIFTH AMENDED JOINT CHAPTER 11 PLAN OF LIQUIDATION

           The Fifth Amended Joint Chapter 11 Plan of Liquidation, dated January 20, 2021 [D.I.

3182 & 3195] (as may be amended, modified or supplemented, the “Plan”) and the Fourth

Amended Disclosure Statement in Support of the Fourth Amended Joint Chapter 11 Plan of

Liquidation Proposed by the Debtors and the Official Committee of Unsecured Creditors [D.I.

3097 & 3098], dated November 17, 2020 (the “Disclosure Statement”)2 each having been filed

with the United States Bankruptcy Court for the District of Delaware (the “Court”) by The

Weinstein Company Holdings LLC and its affiliated debtors and debtors in possession

(collectively, the “Debtors”) and the Official Committee of Unsecured Creditors appointed in their

Chapter 11 Cases (the “Committee” and, together with the Debtors, the “Plan Proponents”); and

the Disclosure Statement, and appropriate Ballots for voting on the Plan having been approved,

and transmitted to Holders of Claims against the Debtors in the Voting Classes, pursuant to that


1
  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are 3837. The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural purposes
only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent
at https://dm.epiq11.com/twc.
2
    All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Plan.




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certain Order (A) Approving the Adequacy of the Disclosure Statement, (B) Approving Solicitation

Procedures (C) Setting Confirmation Hearing Date and Related Deadlines, (D) Estimating

Certain Claims, and (E) Granting Related Relief, entered by this Court on November 17, 2020

[D.I. 3101] (the “Disclosure Statement Order”); and a copy of the Plan, as amended or modified,

being attached hereto as Exhibit A; and the Plan Supplement having been filed on December 4,

2020 [D.I. 3120] (the “Plan Supplement”); and the Plan Proponents having filed their Joint (I)

Memorandum of Law In Support of Confirmation of the Fifth Amended Joint Chapter 11 Plan of

Liquidation of The Weinstein Company Holdings, LLC et al. and (II) Omnibus Reply to

Confirmation Objections [D.I. 3184] (the “Confirmation Brief”) with this Court prior to the

Confirmation Hearing (as defined herein); and the Declaration of Ivona Smith in Support of

Confirmation of the Fifth Amended Joint Chapter 11 Plan of Liquidation of The Weinstein

Company Holdings, LLC et al. [D.I. 3185] (the “TWC Declaration”); (ii) Declaration of Kyle

Herman in Support of Confirmation of the Fifth Amended Joint Chapter 11 Plan of Liquidation of

The Weinstein Company Holdings, LLC et al. [D.I. 3186] (the “Herman Declaration”); (iii)

Declaration of Robert Peck in Support of Fifth Amended Chapter 11 Plan of Liquidation [D.I.

3187] (the “Peck Declaration”); (iv) Declaration of David P. Schack in Support of Confirmation

of the Fifth Amended Joint Chapter 11 Plan of The Weinstein Company Holdings, LLC et al. [D.I.

3188] (the “Schack Declaration”); (v) Declaration of Paul H. Zumbro in Support of Confirmation

of the Fifth Amended Joint Chapter 11 Plan of The Weinstein Company Holdings, LLC et al. [D.I.

3189] (the “Zumbro Declaration”); (vi) Declaration of Jane Sullivan on Behalf of Epiq Corporate

Restructuring, LLC Regarding Voting and Tabulation of Ballots Cast on the Fourth Amended Joint

Chapter 11 Plan of Liquidation (the “Voting Declaration”) [D.I. 3191]; and Report of the Official

Committee of Unsecured Creditors Concerning Sexual Misconduct Claims Ballots and




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Declaration of Debra L. Grassgreen In Support Thereof (the “Committee Voting Report”)

[D.I. 3159] (collectively, the “Declarations” and together with the Confirmation Brief, the

“Confirmation Documents”) having been filed with this Court prior to the Confirmation Hearing;

and the hearing to consider the confirmation of the Plan having been held before this Court on

January 25, 2021 (the “Confirmation Hearing”) after due and sufficient notice was given to

Holders of Claims against, and Interests in, the Debtors and other parties-in-interest in accordance

with the Disclosure Statement Order, Title 11 of the United States Code (the “Bankruptcy Code”),

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local Rules of

Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), in each case as established by the affidavits of service, mailing

and/or publication filed with this Court prior to the Confirmation Hearing (collectively, the “Notice

Affidavits”);3 and upon all of the proceedings held before this Court and after full consideration

of: (i) each of the objections to the confirmation of the Plan filed with this Court and not

subsequently withdrawn, settled, or deemed moot (the “Objections”); (ii) the Plan Supplement;

(iii) the Confirmation Brief; (iv) the Voting Report; (v) testimony proffered or presented at the

Confirmation Hearing, (vi) the Declarations and affidavits filed with this Court; and (vii) all other

evidence proffered or adduced at, memoranda and objections filed in connection with, and

arguments of counsel made at, the Confirmation Hearing; and after due deliberation thereon; and

good cause appearing therefor:

                    THE COURT HEREBY FINDS:

           A.       The findings and conclusions set forth herein and on the record made at the

Confirmation Hearing constitute the Court’s findings of fact and conclusions of law pursuant to


3
    The Notice Affidavits are located at D.I. 3139 & 3163-65.



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Rule 52 of the Federal Rules of Civil Procedure, as made applicable herein by Bankruptcy Rules

7052 and 9014. To the extent any of the following findings of fact constitute conclusions of law,

they are adopted as such. To the extent any of the following conclusions of law constitute findings

of fact, they are adopted as such.

         B.        The Debtors are eligible debtors under section 109 of the Bankruptcy Code and,

pursuant to Local Rule 9013-1(f), the Debtors consent to entry of a final order by the Court in

accordance with the terms set forth herein to the extent that it is later determined that the Court,

absent consent of the parties, cannot enter final orders or judgments consistent with Article III of

the United States Constitution. Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408

and 1409. The Debtors and the Committee are proper plan proponents under section 1121(a) of

the Bankruptcy Code.

         C.        The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and

1334, and the Amended Standing Order of Reference from the United States District Court of

Delaware, dated February 29, 2012. This is a core proceeding pursuant to 28 U.S.C. § 157(b) and

this Court has jurisdiction to enter a final order with respect thereto.

         D.        The Plan Proponents have met their burden of proving that the Plan satisfies the

elements of 1129(a) of the Bankruptcy Code by a preponderance of the evidence.

         E.        The Plan was solicited in good faith and in compliance with the applicable

provisions of the Bankruptcy Code and Bankruptcy Rules. As is evidenced by the Affidavit of

Service of Solicitation Materials [D.I. 3139], the transmittal and service of the Plan, the Disclosure

Statement, and the other documents required by the Disclosure Statement Order were adequate

and sufficient under the circumstances, and all parties required to be given notice of the

Confirmation Hearing, including the deadline for filing objections, have been given due, proper,




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timely, and adequate notice in accordance with the Disclosure Statement Order and in compliance

with the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and applicable non-bankruptcy

law and such parties have had a full and fair opportunity to appear and be heard with respect

thereto. No additional or further notice is required.

         F.        The Plan has been proposed in good faith and not by any means forbidden by law.

In so finding, the Court has considered the totality of the circumstances of these Chapter 11 Cases,

and found that all constituencies acted in good faith. The Plan is the result of extensive, good faith,

arm’s length negotiations among the Debtors and their principal constituencies.

         G.        Votes to accept or reject the Plan have been solicited and tabulated fairly, in good

faith, and in a manner consistent with the Bankruptcy Code, the Bankruptcy Rules and the

Disclosure Statement Order.

         H.        The Holders of Sexual Misconduct Claims in Class 4 and the Holders of General

Unsecured Claims in Class 6 have voted to accept the Plan in accordance with section 1126(c) of

the Bankruptcy Code. No Holders of Other Tort Claims in Class 5 submitted ballots in favor of,

or against, the Plan. Holders of Claims in Class 4, Class 5 and Class 6 are the only Holders of

Claims entitled to vote on the Plan in accordance with the terms of the Plan, the Bankruptcy Code

and the Bankruptcy Rules.

         I.        The Plan Injunction (Section 7.3), the Channeling Injunction (Sections 5.8, 5.12),

the Debtor Release (Section 7.2.1), the Third-Party Release (Sections 7.2.2-7.2.6) and the

Exculpation (Section 14.5) as set forth in the Plan are appropriate under applicable law.

         J.        The releases contained in Section 7 of the Plan are: (a) in exchange for the good

and valuable consideration provided by the Released Parties; (b) a good faith settlement and

compromise of the Claims released by Section 7 of the Plan; (c) a product of good-faith and arm’s-




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length negotiations; (d) integral elements of the Plan and the resolution of these Chapter 11 Cases;

(e) in the best interests of the Debtors and all Holders of Claims and Interests; (f) fair, equitable,

and reasonable; (g) given and made after due notice and opportunity for a hearing; and (h)

consistent with the Bankruptcy Code and applicable bankruptcy law.

         K.        The Court’s findings of fact to support the approval of the Plan Injunction, the

Channeling Injunction, the Debtor Release, the Third-Party Release and the Exculpation, based on

the record made at the Confirmation Hearing, including the Confirmation Brief, Declarations and

Voting Report, are set forth below:

                1)      Compromise and Settlement. The Plan memorializes the significant
compromises and agreements among the Released Parties that were agreed upon in the Plan
Support Agreement. The Released Parties’ commitments under the Plan are contingent upon the
corresponding commitments by the other Released Parties. In consideration for the classification,
distributions, and other benefits provided under the Plan, the provisions of the Plan constitute a
good faith compromise and settlement of all Claims and controversies among the Released Parties,
including all Claims arising prior to the Petition Date. These compromises and settlements are in
the best interests of the Debtors, their Estates and creditors, and all other parties-in-interest, and
are fair, equitable and within the range of reasonableness.

                   2)     Fairness.

                        i.       Each of the Released Parties provided, or has agreed to provide, a
substantial contribution that was necessary to make the Plan feasible and to provide a fair result
for affected creditors that is superior to all other alternatives. Specifically:

                             a) The Insurance Companies. In connection with the Settlement and,
                                pursuant to the terms of the Plan Support Agreement, the Insurance
                                Companies, on behalf of the Released Parties (and Harvey
                                Weinstein, only with respect to Sexual Misconduct Claimants who
                                affirmatively elect to release Harvey Weinstein in accordance with
                                the Plan), have agreed to pay the Settlement Amount to the Global
                                Escrow Agent for the benefit of Holders of, among other Claims,
                                Sexual Misconduct Claims, Other Tort Claims and General
                                Unsecured Claims. The consideration provided by the Insurance
                                Companies constitutes a substantial contribution and is critical to the
                                Plan.

                             b) The Former Representatives. In connection with the Settlement, the
                                Former Representatives have agreed to waive, in part, their



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                               entitlement to reimbursement of all defense costs and expenses as a
                               priority to payment of any lability or settlement amount pursuant to
                               the terms of the Insurance Policies, which has provided the
                               Insurance Companies with the ability to tender the Settlement
                               Payment under the Plan. The consideration provided by the Former
                               Representatives constitutes a substantial contribution and is critical
                               to the Plan.

                       ii.       As reflected in the Voting Report and as set forth on the record made
at the Confirmation Hearing, Holders of Sexual Misconduct Claims and General Unsecured
Claims overwhelmingly voted in favor of the Plan. No Holders of Other Tort Claims returned a
ballot in favor or, or against, the Plan. Accordingly, the Plan has been overwhelmingly accepted
the classes of creditors affected by the injunctions and releases.

                   iii.      The Plan, the compromises reflected therein, and the Plan
Injunction, the Channeling Injunction, the Debtor Release, the Third-Party Release and
Exculpation were each the product of good-faith and arm’s-length negotiation among the Debtors,
the Committee, the Insurance Companies, the Former Representatives and their respective
representatives.

                     iv.      The Settlement Payment is fair and adequate under the
circumstances and provides sufficient funding for the Sexual Misconduct Claims Fund and
Liquidation Trust and provides adequate funding for the other payments and distributions to be
made under the Plan. Accordingly, in exchange for the injunctions and releases provided for under
the Plan, Holders of Claims and Interests are receiving fair, reasonable and adequate consideration.

                       v.       The Sexual Misconduct Claims Fund provides a fair and equitable
mechanism for holders of Sexual Misconduct Claims to liquidate and satisfy their Sexual
Misconduct Claims.
     .
                3)      Necessity. The Plan Injunction, the Channeling Injunction, the Debtor
Release and Third-Party Release are critical to the success of the Plan. Without the Debtor Release
and Third-Party Release and the enforcement of the Debtor Release and Third-Party Release
through the Plan Injunction and the Channeling Injunction, the Released Parties would not be
willing to make their contributions under the Plan. Absent those contributions, no chapter 11 plan
is feasible and creditors in these Chapter 11 Cases would receive little or no recovery.

                 4)     Extraordinary Circumstances. These Chapter 11 Cases were precipitated
by the public disclosure of Harvey Weinstein’s years’ of alleged sexual misconduct. The Plan
avoids the need for contentious, protracted and value-destructive litigation, preserves the Estates’
limited assets and liquidates and monetizes the Debtors’ applicable Insurance Policies for the
benefit of, among others, Holders of Sexual Misconduct Claims, Other Tort Claims and General
Unsecured Claims whose recoveries may not otherwise be possible under the circumstances. The
extensive efforts and substantial contributions by each of the Released Parties, along with the
substantial litigation and collection risk absent a global settlement such as that included in the Plan
and the magnitude of the recoveries provided for under the Plan, and in particular to Holders of



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Sexual Misconduct Claims, constitute extraordinary circumstances warranting the Plan Injunction,
the Channeling Injunction, the Debtor Release and Third-Party Release set forth in the Plan.

                5)     Record Supports Specific Findings. The record of the Confirmation Hearing
(including the Confirmation Brief, Declarations and Voting Report) and of these Chapter 11 Cases
is sufficient to support the Plan Injunction, the Channeling Injunction, the Debtor Release and
Third-Party Release contained in the Plan.

                6)     Third Party Release. As set forth in the Confirmation Documents and
herein, the Third-Party Release provided under the Plan satisfies the standard articulated in
Continental Airlines (In re Continental Airlines), 203 F.3d 203 (3d Cir. 2000) and In re Millennium
Lab Holdings II, LLC, 945 F.3d 126 (3d Cir. 2019), and with respect to Holders of Claims (except
Holders of Claims in Class 4) who voted against the Plan or failed to return a ballot, the Third-
Party Release is consensual in that all parties to be bound by such release were given due and
adequate notice thereof and sufficient opportunity and instruction to elect to opt out of such Third-
Party Release. With respect to Holders of Claims in Class 6 who opted out of the Third-Party
Release, after confirmation of the Plan, such Holders may revise their ballot to opt in to the Third-
Party Release and be treated as if such Holders never opted out of the Third-Party Releases.

               7)     Debtor Release. As set forth in the Confirmation Documents and herein,
the releases being provided by the Debtors and the Estates constitute a sound exercise of the
Debtors’ business judgment and, to the extent applicable, otherwise satisfy the standard articulated
in In re Master Mortg. Inv. Fund, Inc., 168 B.R. 930 (Bankr. W.D. Mo. 1994).

                8)     Exculpation. As set forth in the Confirmation Documents and herein, the
exculpations in favor of the Exculpated Parties in Section 14.5 of the Plan are appropriate in that
the Exculpated Parties are estate fiduciaries and no Exculpated Party is being exculpated for acts
or omissions that constitute willful misconduct or gross negligence. Accordingly, the Exculpation
complies with the standard articulated in In re PWS Holding Corp., 228 F.3d 224 (3d Cir. 2000).

                   L.     The injunction and release provisions are critical to the success of the Plan.

Without the Debtor Release and Third-Party Release, and the enforcement of such releases through

the Plan’s Injunction and Channeling Injunction, the Insurance Companies and Former

Representatives would not be willing to make their contributions under the Plan. Absent those

contributions, the Plan would not be feasible. The injunctions are necessary to preserve and

enforce the Debtor Release and Third-Party Release and are narrowly tailored to achieve that

purpose.

         M.        Section 12.1 of the Plan provides for the substantive consolidation of the Debtors

and their Estates for all purposes associated with confirmation and substantial consummation of


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the Plan. Based on, among other things, the Confirmation Brief, the Peck Declaration and the

record made at the Confirmation Hearing, (i) no class of creditors or interest holders is

disadvantaged by the substantive consolidation of the Debtors and their Estates and (ii) substantive

consolidation of the Debtors and their Estates is justified, appropriate, and in the best interests of

the Debtors, their Estates, creditors and all other parties-in-interest.

         N.        Pursuant to sections 105, 363 and 1123(b)(3) of the Bankruptcy Code and

Bankruptcy Rule 9019, and in consideration for, among other things, the classification,

distributions, releases and other benefits provided under the Plan, upon the Effective Date, the

provisions of the Plan, including the Settlement and Plan Support Agreement, shall constitute a

good-faith compromise and settlement of all Claims, Interests, Causes of Action, and controversies

resolved pursuant to the Plan, the Settlement and the Plan Support Agreement.                   These

compromises and settlements, including the Settlement and the Plan Support Agreement, are in

the best interests of the Debtors, their Estates, the Debtors’ creditors and other parties-in-interest,

and are fair, equitable and within the range of reasonableness.

         O.        The Holders of Intercompany Claims (Class 7) and Interests (Class 8) are deemed

to have rejected the Plan (the “Rejecting Classes”). The Plan does not discriminate unfairly and

is fair and equitable with respect to the Rejecting Classes, as required by sections 1129(b)(1) and

(b)(2) of the Bankruptcy Code, because (i) no Holder of any Claim or Interest that is junior to the

Rejecting Classes will receive or retain any property under the Plan on account of such junior

Claim or Interest and (ii) no Holder of a Claim in a Class senior to the Rejecting Classes is

receiving more than 100% recovery on account of its Claim. Accordingly, the Plan does not

discriminate unfairly among the different classes of creditors and interest holders, satisfies the fair




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and equitable standard of the Bankruptcy Code and may be confirmed notwithstanding the

rejection of the Plan by the Rejecting Classes.

                   FURTHER, IT IS HEREBY ORDERED THAT:

A.       Confirmation of the Plan and Approval of the Settlement and Plan Support
         Agreement

         1.        The Plan is confirmed and approved in all respects.

         2.        Each of the Settlement and the Plan Support Agreement satisfies the requirements

of Bankruptcy Rule 9019 and is approved. The compromises and settlements set forth in the Plan,

including the Settlement and the Plan Support Agreement, as reflected in the relative distributions

to and recoveries of Holders of Claims under the Plan, are approved pursuant to Bankruptcy Rule

9019(a), including with respect to each of the Settlement and the Plan Support Agreement, and

shall be effective immediately and binding on all parties in interest on the Effective Date.

         3.        Any and all objections to the Plan that have not been resolved, withdrawn, waived,

or settled prior to the Confirmation Hearing are hereby overruled on the merits for the reasons set

forth on the record made at the Confirmation Hearing.

         4.        The documents contained in the Plan Supplement are integral to the Plan and are

approved by the Court.

         5.        The Debtors, the Liquidation Trust, the Liquidation Trustee and the Sexual

Misconduct Claims Examiner are authorized to take all actions required under the Plan, the Plan

Supplement and the Liquidation Trust Agreement to effectuate the Plan and the transactions

contemplated therein.

         6.        The terms of the Plan, the Plan Supplement, the Liquidation Trust Agreement and

the exhibits thereto (including, without limitation, the Settlement and the Plan Support Agreement)

are incorporated herein by reference and are an integral part of this Confirmation Order. The terms



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of the Plan, the Plan Supplement, the Liquidation Trust Agreement and the exhibits thereto

(including, without limitation, the Settlement and the Plan Support Agreement), and all other

relevant and necessary documents executed or to be executed in connection with the transactions

contemplated by the Plan shall be effective and binding as of the Effective Date. Subject to the

terms of the Plan, the Plan Proponents may alter, amend, update or modify the Plan Supplement

and the Liquidation Trust Agreement before the Effective Date. The failure to specifically include

or refer to any particular article, section, or provision of the Plan, the Plan Supplement, the

Liquidation Trust Agreement or any related document in this Confirmation Order does not

diminish or impair the effectiveness or enforceability of such article, section, or provision and this

Confirmation Order shall be interpreted as if such articles, sections or provisions were included

herein in their entirety.

         7.        This Confirmation Order shall constitute all approvals and consents required, if any,

by the laws, rules or regulations of any state or any other governmental authority with respect to

the implementation or consummation of the Plan and any other acts that may be necessary or

appropriate for the implementation or consummation of the Plan. In accordance with section

1142(b) of the Bankruptcy Code, upon the entry of this Confirmation Order, the Debtors, the

Liquidation Trust, the Liquidation Trustee and the Sexual Misconduct Claims Examiner, as

applicable, each acting by and through their respective officers and agents, are authorized to take

any and all actions necessary or appropriate to implement the Plan, including, without limitation,

(i) consummating the Settlement and Plan Support Agreement; (ii) forming the Liquidation Trust,

entering into the Liquidation Trust Agreement (substantially in the form included in the Plan

Supplement), and complying with, and satisfying the obligations set forth under, the Liquidation

Trust Agreement; (iii) complying with, and satisfying the obligations set forth under, the Plan; and




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(iv) complying with, and satisfying the obligations set forth under, the Sexual Misconduct Claims

Fund Procedures, as applicable, in each case, without any further order of the Court. The

Liquidation Trust shall be deemed for all purposes to have been created in connection with the

Plan and this Confirmation Order.

         8.        Subject to payment of any applicable filing fees under applicable non-bankruptcy

law, each federal, state, commonwealth, local, foreign or other governmental agency is authorized

to accept for filing and/or recording any and all documents, mortgages and instruments necessary

or appropriate to effectuate, implement or consummate the transactions contemplated by the Plan

and this Confirmation Order.

         9.        The amendments and modifications to the Fourth Amended Joint Chapter 11 Plan

of Liquidation [D.I. 3095 & 3096] since the filing thereof, including as reflected herein, and

incorporated into and reflected in the Plan are approved in accordance with section 1127(a) of the

Bankruptcy Code and Rule 3019(a) of the Bankruptcy Rules.

         10.       Pursuant to Bankruptcy Rule 3020(c)(1), the following provisions in the Plan are

hereby approved and shall be effective immediately on the Effective Date without further order or

action by the Court, any of the parties to such release, or any other Entity: (a) the Debtor Release

(Section 7.2.1); (b) the Third-Party Release (Sections 7.2.2-7.2.6); (c) the Plan Injunction (Section

7.3); (d) the Channeling Injunction (Section 5.8, 5.12); and (e) the Exculpation (Section 14.5). For

the avoidance of doubt, the terms of the Plan provisions set forth in this paragraph 10 are

incorporated herein by reference.

         11.       Except as otherwise set forth in the Plan, the Liquidation Trust Agreement or this

Confirmation Order, on the Effective Date, the Liquidation Trust Assets shall vest in the

Liquidation Trust free and clear of all Claims, Liens, and Interests.




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         12.       Unless as otherwise set forth in Section 8 of the Plan, all executory contracts and

unexpired leases to which a Debtor is a party shall be deemed rejected on, and effective as of, the

Effective Date.

         13.       Pursuant to Section 12.1 of the Plan, the terms of the Debtors’ substantive

consolidation are approved.

         14.       The Chapter 11 Cases, other than the Chapter 11 Case of The Weinstein Company

LLC (Case No. 18-10601) are deemed closed as of the Effective Date and this Confirmation Order

shall serve as an order closing such Chapter 11 Cases.

         15.       The Liquidation Trustee shall cause to be served a notice of the entry of this

Confirmation Order and occurrence of the Effective Date, substantially in the form attached hereto

as Exhibit B (the “Effective Date Notice”), upon all parties listed in the creditor matrix maintained

by Epiq Corporate Restructuring, LLC no later than seven (7) calendar days after the Effective

Date. Notice need not be given or served to any Person for whom any prior notices sent during

these Chapter 11 Cases have been returned as undeliverable, unless the Liquidation Trustee has

been informed, on or before the date on which the Effective Date Notice is served, in writing by

such Person of that Person’s new address, or unless previous mail to such address has been returned

with a valid forwarding address on or before the date on which the Effective Date Notice is served,

in which case the Effective Date Notice shall be mailed to such forwarding address. The notice

described herein is adequate and appropriate and no other or further notice is necessary.

B.       Liquidation Trust

         16.       Except as otherwise provided in the Plan, this Confirmation Order, or this Court’s

Order Authorizing and Establishing Procedures for the Sale, Transfer or Abandonment of De

Minimis Assets [D.I. 3141] and Order Granting Debtors’ Motion Pursuant to Fed. R. Bankr. P.




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9019 for Approval of Settlement Agreement with Guilds,4 MUFG, UnionBanCal, and Committee

[D.I. 1956; 1956-1], on and after the Effective Date, all Liquidation Trust Assets shall vest in the

Liquidation Trust free and clear of all Claims, Liens, charges, other encumbrances, and Interests.

On and after the Effective Date, the Liquidation Trust shall be authorized, without limitation, to

use and dispose of the Liquidation Trust Assets in accordance with the terms of the Plan, to

investigate and pursue any Causes of Action (other than any Cause of Action that has been released

pursuant to the Plan and this Confirmation Order) as the representative of the Debtors’ Estates

pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, and to otherwise administer their

affairs, in each case without supervision or approval by the Bankruptcy Court and free of any

restrictions of the Bankruptcy Code or Bankruptcy Rules.

         17.       The Liquidation Trust shall retain and may enforce all rights to commence and

pursue, as appropriate, any and all Causes of Action (other than any Cause of Action that has been

released pursuant to the Plan and this Confirmation Order), whether arising before or after the

Petition Date, and such rights to commence, prosecute, or settle such Causes of Action shall be

preserved notwithstanding the occurrence of the Effective Date.

         18.       Dean A. Ziehl shall be, and hereby is, appointed as the Liquidation Trustee from

and after the Effective Date. As the Liquidation Trustee, Mr. Ziehl will be an officer of the

Bankruptcy Court, with the immunities, rights, and protections customarily enjoyed by bankruptcy

trustees. The Bankruptcy Court will have sole jurisdiction over claims and causes of action against

Mr. Ziehl (solely in his capacity as the Liquidation Trustee) arising out of the performance of his



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 “Guilds” means, as applicable: (i) Directors Guild of America, Inc., (ii) Directors Guild of America, Inc.-Producer
Pension and Health Plans, (iii) Screen Actors Guild-American Federation of Television and Radio Artists, (iv) Screen
Actors Guild-Producers Pension and Health Plans, (v) Writers Guild of America West, Inc., (vi) Writers Guild of
America East, Inc., (vii) Writers Guild Pension Plan and Industry Health Fund, and (viii) Motion Picture Industry
Pension and Health Plans.




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duties, and Mr. Ziehl (in such capacity) may not be sued, or have claims asserted against him, in

any other forum without leave of the Bankruptcy Court. The Liquidation Trustee and any

professionals retained by the Liquidation Trustee may be compensated by the Liquidation Trust in

connection with any services provided to or on account of the Liquidation Trust from and after the

Effective Date, subject to and in accordance with the terms of the Plan and the Liquidation Trust

Agreement.

C.       Supplemental Administrative Expense Claims Bar Date

         19.       Except as otherwise provided in the Initial Bar Date Order or the Plan, requests for

payment of Administrative Expense Claims must be filed with the Court and served on the

Liquidation Trustee and its counsel and the U.S. Trustee within forty-five (45) days from service

of the Effective Date Notice. Such proof of Administrative Expense Claim must include at a

minimum: (i) the name of the holder of the Administrative Expense Claim; (ii) the dates upon

which the Administrative Expense Claims arose; (iii) the asserted amount of the Administrative

Expense Claim; (iv) the basis of the Administrative Expense Claim; and (v) supporting

documentation for the Administrative Expense Claim. ANY ADMINISTRATIVE EXPENSE

CLAIMS THAT ARE NOT ASSERTED IN ACCORDANCE HEREWITH AND WITH

SECTION 3.7.1 OF THE PLAN SHALL BE DEEMED DISALLOWED UNDER THE PLAN

AND SHALL BE FOREVER BARRED AGAINST THE DEBTORS, THEIR ESTATES, THE

LIQUIDATION TRUST, OR ANY OF THEIR ASSETS OR PROPERTY, AND THE HOLDER

THEREOF SHALL BE ENJOINED FROM COMMENCING OR CONTINUING ANY

ACTION, EMPLOYMENT OF PROCESS OR ACT TO COLLECT, OFFSET, RECOUP, OR

RECOVER SUCH CLAIM AND SHALL BE SUBJECT TO THE INJUNCTION PROVISION.




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     D. Bar Date for Claims Arising From Rejection of Execution Contracts

         20.       Claims created by the rejection of executory contracts or unexpired leases pursuant

to the Plan must be filed with the Bankruptcy Court and served on the Liquidation Trustee and its

counsel, no later than thirty (30) days after the Effective Date. Any Claims for rejection of

executory contracts or unexpired leases pursuant to the Plan for which a proof of claim is not filed

and served within such time will be forever barred and shall not be enforceable against the Debtors

or their Estates, assets, properties, or interests in property, or against the Liquidation Trust. Unless

otherwise ordered by the Bankruptcy Court, all such Claims that are timely filed as provided in

the Plan shall be treated as General Unsecured Claims under the Plan. Nothing in the Plan extends

any deadline for the filing of any Claims established in a previously entered order of the

Bankruptcy Court.

E.       Professional Fee Claims

         21.       Each Bankruptcy Professional requesting compensation for services rendered and

reimbursement for expenses incurred during the period from the Petition Date through the

Effective Date must (i) file and serve a properly noticed final fee application by no later than 45

days after the Effective Date and (ii) be paid solely from the Liquidation Trust (a) the full unpaid

amount as is Allowed by the Court within 7 days after the date that such Claim is Allowed by

Order of the Court or (b) upon such other terms as may be mutually agreed upon between the

Holder of such an Allowed Professional Fee Claim and the Liquidation Trustee.                     ANY

PROFESSIONAL FEE CLAIM THAT IS NOT ASSERTED IN ACCORDANCE WITH

SECTION 3.8 OF THE PLAN SHALL BE DEEMED DISALLOWED UNDER THE PLAN AND

SHALL BE FOREVER BARRED AGAINST THE DEBTORS, THEIR ESTATES, THE

LIQUIDATION TRUST, OR ANY OF THEIR ASSETS OR PROPERTY, AND THE HOLDER

THEREOF SHALL BE ENJOINED FROM COMMENCING OR CONTINUING ANY


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ACTION, EMPLOYMENT OF PROCESS OR ACT TO COLLECT, OFFSET, RECOUP, OR

RECOVER SUCH CLAIM AND SHALL BE SUBJECT TO THE INJUNCTION PROVISION.

Any Holder of a Claim or Interest (or their representative, including, but not limited to, the

Committee) or the Liquidation Trustee may object to the allowance of Professional Fee Claims.

F.       Dissolution of the Committee

         22.       On the Effective Date, the Committee shall dissolve and all members, ex officio

members, employees, attorneys, financial advisors, other Bankruptcy Professionals, or other

agents thereof shall be released and discharged from all rights and duties arising from or related to

the Chapter 11 Cases; provided, however, that the Committee shall continue in existence and its

Professionals shall continue to be retained with respect to Professional Fee Claims filed or to be

filed pursuant to sections 330 and 331 of the Bankruptcy Code.

G.       Miscellaneous

         23.       The Plan shall not become effective unless and until all conditions set forth in

Section 11 of the Plan have been satisfied or waived pursuant to the terms thereof.

         24.       Notwithstanding Bankruptcy Rule 3020(e), 6004(h), 6006(d) and 7062, to the

extent applicable, this Confirmation Order shall be effective and enforceable immediately, and the

Plan Proponents and the Settlement Parties are hereby authorized to consummate the Plan and the

transactions contemplated thereby immediately upon the entry of this Confirmation Order.

         25.       The failure specifically to include or to refer to any particular section or provision

of the Plan or any related document in this Confirmation Order shall not diminish or impair the

effectiveness of such article, section, or provision, and such section or provision shall have the

same validity, binding effect, and enforceability as every other section or provision of the Plan, it

being the intent of the Bankruptcy Court that the Plan be confirmed in its entirety and that all Plan-

related documents be approved.


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         26.       Notwithstanding anything to the contrary contained in the Plan or Confirmation

Order, nothing in the Plan or Confirmation Order: (i) shall grant any relief to any Entity that the

Court is prohibited from granting by the Declaratory Judgment Act, 28 U.S.C. § 2201(a), or the

Tax Anti-Injunction Act, 26 U.S.C. § 7421(a); (ii) release or discharge any claim for federal taxes

against any Entity other than the Debtors, or enjoin the collection or assessment of such taxes; or

(iii) grant the Debtors a release or discharge of any claims for federal taxes except as provided by

11 U.S.C. §§ 524 and 1141(d), or enjoin the collection or assessment of such taxes except as

provided by those provisions.

         27.       Notwithstanding any other provision of the Plan, the United States’ right(s) of setoff

and recoupment are expressly preserved.

         28.       Notwithstanding any other provision of the Plan, the United States’ right to post-

petition interest and penalties on its administrative claims is preserved.

         29.       Notwithstanding anything to the contrary in the Plan Documents or this

Confirmation Order, nothing in the Plan Documents, this Confirmation Order, or the Chapter 11

Cases generally, including any orders establishing deadlines for filing proofs of claim or requests

for payment of expenses, shall stay, affect, or prejudice in any way Ashley Judd’s rights, claims,

or defenses, or be used in any way, in or in connection with (a) the litigation currently pending in

the United States District Court for the Central District of California captioned Judd v. Weinstein,

Case No. 18-cv-05724 PSG (FFMx) or any related appeal, provided that none of the Released

Parties shall be named as defendants in such litigation; or (b) any other proceeding, litigation, or

appeal involving Ashley Judd and Harvey Weinstein relating to conduct arising in whole or part

prior to June 30, 2005.




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         30.       On April 30, 2018, Black Bear Pictures, together with its affiliates BBP DevCo,

LLC, BBP Gold, LLC, BBP Imitation, LLC, Black Bear IG Limited, and Three Greenhorns, Inc.

(collectively, “Black Bear Pictures”) filed “Black Bear Pictures’ Objection To Assumption And

Assignment Of Executory Contracts Or Unexpired Leases And Proposed Cure Objection” [D.I.

527] (the “Black Bear Pictures Cure Objection”), to, among other things, object to the assumption

and assignment of the Assumption Agreements (as defined in the Black Bear Pictures Cure

Objection) to Spyglass Media Group, LLC, (f/k/a Lantern Entertainment LLC) pursuant to the Sale

Order (as defined below). As of the date of the entry of this Confirmation Order, the Black Bear

Pictures Cure Objection remains an Unresolved Contract Objection (as such term is defined the

Order (I) Authorizing the Sale of All or Substantially All of the Debtors Assets Free and Clear of

All Liens, Claims, Interests, Encumbrances and Other Interests, (II) Authorizing the Assumption

and Assignment of Certain Executory Contracts and Unexpired Leases in Connection Therewith,

and (III) Granting Related Relief [D.I. 846] (the “Sale Order”)). Notwithstanding anything in this

Confirmation Order to the contrary, nothing herein shall affect the rights of any parties with

Unresolved Contract Objections (as such term is defined in the Sale Order), including Black Bear

Pictures under the Sale Order or the Black Bear Pictures Cure Objection with respect to the

Assumption Agreements including, without limitation, any rights arising under Section 8.1 of the

Plan. For the avoidance of doubt, nothing in this Confirmation Order shall supersede, alter, or

otherwise modify the terms of the Sale Order and the rights granted or obligations imposed

thereunder.

         31.       Except as otherwise provided in this Confirmation Order, if any or all of the

provisions of this Confirmation Order are hereafter reversed, modified, vacated, or stayed by

subsequent order of this Court, or any other court, such reversal, stay, modification, or vacatur




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shall not affect the validity or enforceability of any act, obligation, indebtedness, liability, priority,

or lien incurred or undertaken by the Debtors or the Liquidation Trustee, as applicable, prior to the

effective date of such reversal, stay, modification, or vacatur. Notwithstanding any reversal, stay,

modification or vacatur of this Confirmation Order, any such act or obligation incurred or

undertaken pursuant to, or in reliance on, this Confirmation Order prior to the effective date of

such reversal, stay, modification, or vacatur shall be governed in all respects by the provisions of

this Confirmation Order, the Plan, the Plan Supplement, and any amendments or modifications to

the foregoing.

         32.       The provisions of the Plan and this Confirmation Order, including the findings of

fact and conclusions of law set forth herein, are nonseverable and mutually dependent.

         33.       To the extent of any inconsistency between this Confirmation Order and the Plan,

this Confirmation Order shall govern.

         34.       Except as otherwise provided in the Plan or this Confirmation Order, notice of all

subsequent pleadings in these Chapter 11 Cases after the Effective Date shall be limited to the

following parties: (i) the Liquidation Trustee and its counsel; (ii) the U.S. Trustee, and (iii) any

party known to be directly affected by the relief sought.

         35.       Notwithstanding the entry of this Confirmation Order or the occurrence of the

Effective Date, pursuant to sections 105 and 1142 of the Bankruptcy Code, this Court, except as

otherwise provided in the Plan or this Confirmation Order, shall retain jurisdiction over all matters

arising out of, arising under, and related to, the Chapter 11 Cases to the fullest extent as is legally

permissible, including jurisdiction over the matters set forth in Section 13 of the Plan.




Dated: January 26th, 2021
                                                        MARY F. WALRATH
Wilmington, Delaware
                                                        UNITED STATES BANKRUPTCY JUDGE

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